









           

NUMBER 13-03-136-CV

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI - EDINBURG

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IN THE INTEREST OF R.M.R., JR. AND A.M.R., MINOR CHILDREN

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On appeal from the 197th District Court

of Cameron County, Texas.

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MEMORANDUM OPINION


Before Justices Hinojosa, Rodriguez and Castillo

Opinion Per Curiam




 Appellant, ROBERT MANUEL ROCHA , perfected an appeal from a judgment entered by the 197th District
Court of Cameron County, Texas, in cause number 1996-08-4203-C .  No clerk's record has been filed due to
appellant's failure to pay or make arrangements to pay the clerk's fee for preparing the clerk's record.  

 If the trial court clerk fails to file the clerk's record because the appellant failed to pay or make arrangements
to pay the clerk's fee for preparing the clerk's record, the appellate court may dismiss the appeal for want of
prosecution unless the appellant was entitled to proceed without payment of costs.  Tex. R. App. P. 37.3(b).

 On April 1, 2003, notice was given to all parties that this appeal was subject to dismissal pursuant to Tex. R.
App. P. 37.3(b).  Appellant was given ten days to explain why the cause should not be dismissed.  To date, no
response has been received from appellant. 

 The Court, having examined and fully considered the documents on file, appellant's failure to pay or make
arrangements to pay the clerk's fee for preparing the clerk's record, this Court's notice, and appellant's failure
to respond, is of the opinion that the appeal should be dismissed for want of prosecution. The appeal is hereby
DISMISSED FOR WANT OF PROSECUTION.

PER CURIAM



Opinion delivered and filed

this the 8th day of May, 2003






